Case 1:21-cr-00078-RCL Document121 Filed 11/16/23 Page 1 of 35

poorer pment ey UNITED STATES OF AMERICA
Plaintiff [|
Defendant | |
Joint [| VS. Civil/Criminal No. _ 21-cr-78 (RCL)
Court [J John Sullivan
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100 Series |General Evidence of the Capitol Grounds
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102 Map of Restricted Perimeter
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103 Area Closed Signs and Barricades
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105 Area Closed Sign and Barricades .
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106 Photo of Capitol with Snow Fencing in
Forefront and Signs in Background uw \ a \ Ve tu \q \.3 Cl Oy a
107 Area Closed Sign and Barricades
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108 Drawing of Capitol Building and Grounds
109 Three-Dimensional Depiction of Capitol .
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110 Capitol Model - NW Terrace 3
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111 Blueprint - First Floor of Capitol Building -
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112 Blueprint - Second Floor of Capitol
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113 Closeup of Floor 2- House chamber
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114 West Front Time Lapse Video

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1501 Photograph of John Sullivan's camera on a
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1502 Photograph of John Sullivan's camera
lenses and devices for holding a camera
1503 Photograph of John Sullivan in the Capitol
Rotunda holding his camera equipment
1504 Screenshot of video showing John Sullivan
being pushed out of U.S. Capitol by police
holding his camera equipment
1505 Certificate or Organization of Insurgence,
LLC
1506 Press pass issued to John Sullivan by
lInsurgence USA
1507 OSBR Registration Information (5 pages)

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